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                      IN THE UNITED STATES DISTRICT C~¥-(!CT I 5 PH 3: 3 J
                      FOR THE NORTHERN DISTRICT OF T'fXAS
                                DALLAS DIVISION

UNITED STATES OF AMERICA ex rei. )
ROBERT RICHARDSON,               )

       Plaintiff,
                                             )
                                             )
                                                                    S-19CV-2440X
                                                    Case No. _ _ _ _ __
                                             )
       v.                                    )      COMPLAINT FILED UNDER SEAL
                                             )      PURSUANT TO THE FALSE CLAIMS
                                             )      ACT
                                             )
                                             )
INNOVASIS, INC.,                             )      JURY TRIAL DEMANDED
                                             )
DR. BRENT A. FELIX,                          )
                                             )
AND                                          )
                                             )
GARTH L. FELIX,                              )
                                             )
       DEFENDANTS.                           )

                                   QUI TAM COMPLAINT

       Plaintiff Robert Richardson, as qui tam Relator ("Relator"), for himself and on behalf of

the United States of America, alleges the following for his Complaint against Defendants

Innovasis, Inc., a Utah corporation, and individuals Dr. Brent A. Felix and Garth L. Felix

(collectively, "Defendants").

                                       Nature of the Case

       1.      This is an action by Relator to recover damages and civil penalties for

Defendants' violations of the False Claims Act (the "Act" or the "FCA"), 31 U.S.C. §§ 3729-

3733, and the Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b). At the direction of Dr. Felix, an

orthopedic surgeon, and his brother, Garth Felix (who are, upon information and belief, the

principals, owners, and/or managing agents oflnnovasis), Innovasis offered and paid illegal
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remuneration totaling millions of dollars, from at least 2014 (if not earlier) until mid-20 19, to a

diverse group of approximately 20 orthopedic and neurological surgeons located around the

country to induce them to purchase or cause the purchasing of Innovasis' spinal implants and

related devices (the "Innovasis Products") for use during surgical procedures on their

Medicare/Medicaid patients or other patients whose health care is paid for by federal government

programs (such as Tricare 1 or the Federal Employees Health Benefits Program).

         2.       Defendants' conduct directly violated the Anti-Kickback Statute, which prohibits

financial incentives to treating physicians to induce their purchase of medical devices, thereby

resulting in false claims for payment to be submitted to and paid by federal health care programs,

including Medicare, 42 U.S.C. §§ 1395 et seq., Medicaid, 42 U.S.C. §§ 1396 et seq., and other

federal insurers, in violation of the FCA.

         3.       Innovasis utilized several types of arrangements as a cover for its illegal business

dealings with the targeted surgeons, referring to them as "house accounts" and sometimes

"legacy accounts." Dr. Felix and Garth Felix managed and serviced the house accounts almost

exclusively, and information about them was kept secret from and inaccessible to most of the

Innovasis staff. Those few individuals associated with Innovasis who have known of the house

accounts include a cooperating witness here as well as: a director of marketing at Innovasis; a

former Innovasis employee involved with Dr. Felix's cases and his brother-in-law; the principal

for one of the limited liability companies created by Defendants to facilitate their illegal conduct

(particularly regarding surgeons in the State of Ohio); a former Innovasis employee who was

involved in setting up house account relationships in Ohio and Washington and resigned from

Innovasis in 20 18; and a current Innovasis employee who works on the finance and accounting

        Tricare is a federal medical benefit program for active-duty service members, retired military, and their
dependents. See 10 U.S.C. §§ 1071-1110.


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teams there, and thus closely with Garth Felix, where the employee gained familiarity with

payments to house accounts.

       4.      Many of the house accounts were documented in writing. Some involved

contracts for Innovasis to purchase intellectual property belonging to the surgeons or to "co-

partner" with them to develop and bring to market items created from the surgeons' intellectual

property (i.e. "IP contracts") as well as royalty agreements and consulting contracts.

       5.      Although Innovasis attempted to memorialize these arrangements in a manner to

conform with the law, the way that Innovasis actually implemented the arrangements violated the

Anti-Kickback Statute because the arrangements and the associated payments were tied to and

intended to cause the surgeons' choice oflnnovasis Products over competing devices. Dr. Felix

and Brent Felix directed members of the executive and sales teams at Innovasis to speak to and

pressure surgeons subject to these contracts to increase the volume of Innovasis Products

selected by the surgeons under the threat that their contracts with Innovasis would be cancelled.

       6.      The false appearance created by the contracts was particularly evident regarding

the IP contracts. Innovasis entered into intellectual property acquisition contracts with

physicians when there was no true product concept under development or Innovasis had no

actual intention to support the development of the product. If a question arose from a surgeon

about the product ostensibly being co-developed between the surgeon and Innovasis, employees

in Innovasis' product development division would have to admit that no structure was in place to

develop the product or that Innovasis had failed to allocate any resources to develop the product.

At times, a surgeon who truly believed in the potential of his concept would demonstrate

frustration with the Innovasis development team because his idea for a new product would not be

advancing-the Innovasis product development team felt that its hands were tied because



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Innovasis, through Dr. Felix and Garth Felix, had refused to dedicate resources to the project.

From Innovasis' perspective, the IP contracts were simply a sham or Innovasis to pay the

surgeons to choose Innovasis Products over others available in the market, even if in some

instances the contracts were ostensibly for the dual purpose of developing new product.

       7.        Regardless of their titles, the contracts deliberately masked collateral, side

understandings between Innovasis and the surgeons about the expected high volume of purchases

of Innovasis Products to be made by the surgeons in exchange for valuable financial

compensation. Defendants expected, to the point of directly demanding either through

themselves or through management and sales executives at Innovasis, that the physicians

involved in "house accounts" (via their intellectual, royalty, and/or consulting agreements)

purchase or cause the purchasing of high quantities of Innovasis Products in exchange for the

compensation the physicians were receiving.

       8.        Garth Felix, in particular, created and maintained an "off the record" set of

spreadsheets for Innovasis (kept off the public or "mainframe" computer drive at Innovasis) that

closely tracked the surgeons' use of Innovasis Products as compared to the compensation they

were receiving. The point of the spreadsheets was to determine if Innovasis was achieving the

anticipated "return on investment" from the illegal remuneration arrangements. If a paid

surgeon's purchase volume was too low, Innovasis pressured the surgeon to use more of its

Products under threat of contract cancellation or simply terminated the contract associated with

the physician.

       9.        Innovasis also does and has done business with a number of physician-owned

product distributorships or "PODs." According to the Department of Health and Human

Services Office oflnspector General (OIG), "[o]ne ofthe primary criticisms of PODs is that



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ownership may affect physicians' clinical decision[-]making, such as influencing them to

perform unnecessary surgeries or to choose a device in which they have a financial interest rather

than another device that may be more appropriate for the patient." PODs "are inherently

suspicious under the anti-kickback statute."2

        10.      Innovasis has engaged in unlawful promotion of its business interests and its

corporate success has resulted primarily from activities that have violated federal law. The

grouping of twenty or more orthopedic surgeons and neurologists having illegal contracts under

"house accounts" with Innovasis (with their associated intellectual, royalty, and/or consulting

agreements) accounted for approximately 60% of Innovasis' sales during the timeframe from

2014 to 2019 and generated $60 million in sales revenue. Motivated by illegal financial

incentives, the physicians selected Innovasis Products, largely indistinguishable from other

implantable devices on the market, for procedures performed on their government-insured

patients, which resulted in the submission of kickback-tainted false claims to Medicare,

Medicaid, and other federal health care programs in violation of the FCA.

        11.      On behalf of himself and the United States, Relator seeks to recover all available

statutory remedies for Defendants' knowing submission of false claims to the government,

including treble damages, civil penalties, and Relator's reasonable expenses, legal fees, and court

and other costs pursuant to 31 U .S.C. § 3730( d). As required by the FCA, this Complaint is filed

under seal and will not be served on Defendants until further order of this Court.

                                                The Parties

        12.      Relator is a citizen and resident ofthe State of Missouri. From February 2018

until September 2019, Relator was employed by Innovasis as its Area Business Director for the

         Majority Staff, Committee on Finance, U.S. Senate, 114th Cong. 2nd Sess., "Physician Owned
Distributorships: An Update on Key Issues and Areas of Congressional Concern" (2016); HHS Office ofinspector
General, "Special Fraud Alert: Physician-Owned Entities," Federal Register 78, no, 19271 (March 29, 2013).

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Midwest region. While involved in marketing there, Relator obtained detailed knowledge of

Innovasis' historical and current sales initiatives, including the existence of the "house

accounts," Innovasis' relationship with at least one POD, and the quality of the Innovasis

Products compared to other products on the market designed for the same purpose.

       13.     Relator personally discovered the existence of a questionable intellectual property

agreement after receiving a voicemail from an angry surgeon around the 2019 Fourth of July

holiday wherein the surgeon said he "hadn't received my check" under a contract with Innovasis

on a product that was never developed or marketed. The contract was for $250,000 over a two-

year period on purported intellectual property that did not lead to anything of substance. No

meaningful Innovasis resources were directed to developing the product, and the surgeon made

no inquiry about the lack of progress to develop his alleged concept. With his contract coming to

an end, the physician eventually stopped directing the purchase of lnnovasis Products for his

patients, and Innovasis was planning not to renew the contract because of the surgeon's

lackluster performance: he did not purchase or cause the purchase of Innovasis Products in a

sufficient quantity to justify his compensation.

        14.    In addition, Relator was one of several Innovasis employees who were told by Dr.

Felix and Garth Felix that they needed to and were planning to "clean up" the "house accounts"

and "surgeon deals" after becoming aware of, and speaking nervously about, the FCA lawsuit

styled United States ex ref. BNHT, LLC v. Life Spine, Inc., et al., pending in the United States

District Court for the Southern District of New York.

       15.     Prior to his employment marketing Innovasis' products, Relator was involved in

the marketing and sale of other orthopedic and neurologic medical devices, including for many

years at Johnson & Johnson. While at Johnson & Johnson, Relator was a Senior Sales Manager



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responsible for $65 million in sales revenue and managed a team of over 4 managers, 40

product representatives, and distributors. Relator was employed by Johnson & Johnson for 20

years. Relator also has held sales-related positions with Boston Scientific, Abbott/St. Jude

Medical, and Synaptive Medical. Relator accepted alternative employment after resigning from

Innovasis in September 2019.

       16.     Relator is knowledgeable of the legal compliance requirements for physician

marketing contact by the manufacturers and sellers of medical devices, including through

Relator's employment at Johnson & Johnson. Relator always followed compliance requirements

while at Innovasis and other employers. Relator holds a Masters of Business Administration

from Rockhurst University in Kansas City, Missouri.

       17.     Despite his strong and lengthy experience selling implantable medical devices,

Relator found the Innovasis offerings difficult to market because they were not pioneering but

instead mimicked well-established product already on the market. Relator came to recognize the

market pressure Defendants felt that may have motivated their wrongdoing, but Relator took no

part in Defendants' improper scheme to defraud the government and resigned shortly after

learning of the conduct. Relator has direct and independent knowledge of the facts underlying

this Complaint, which have not been publicly disclosed, as that circumstance is defined under the

FCA, 31 U.S.C. § 3730(e).

       18.     In addition to Relator's knowledge and experience, the allegations in this

Complaint are supported by a cooperating witness, a former Innovasis executive, who has

knowledge of the illegal compensation arrangements between Innovasis and surgeons, believed

to have generated over $60 million in revenue from the business relationships outlined in this

Complaint between approximately 2014-2019.



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Innovasis

        19.    Innovasis is a privately-held research, development, manufacturing, and

marketing company specializing in spinal implant devices and related products primarily for the

use of orthopedic surgeons and neurologists. Innovasis sells thoracolumbar, cervical, cranial,

and biologic products, which Innovasis manufactures itself, explaining in its marketing materials

that "[i]n the highly-regulated healthcare industry, Innovasis maintains all the quality

controls of the manufacturing processes. This ensures the final product is something we are

confident will serve our customers well, and protects us against future liabilities."

       20.     Innovasis is a Utah corporation formed around July 2002 in good standing with

that State as of the date of this Complaint and is authorized to conduct business and does conduct

business throughout the United States. Innovasis markets itself throughout the United States

and, upon information and belief, has sold its products in the majority of the states. Innovasis

holds itself out as selling and distributing its products primarily through the use of independent

distributors authorized to solicit sales of the medical equipment and products to the end users.

       21.     Innovasis was founded by Dr. Felix, and Dr. Felix is named in Innovasis' Articles

oflncorporation as the sole Director of the Innovasis Board of Directors and the holder of each

officer title for the organization. Innovasis' office is located at 614 E. 3900 S., Salt Lake City,

Utah 84107-1902. Innovasis may be served with the Summons and Complaint via its registered

agent in Utah, Lori Jackson, 9350 S. 150 E., Suite 820, Sandy, UT 84070.

Dr. Felix and his Brother, Garth Felix

       22.     Dr. Felix is a board-certified orthopedic surgeon. He is a citizen and resident of

Utah and may be served with the Summons and Complaint at his residential address of2911 E.

Little Cottonwood Rd., Sandy, Utah 84092 or at his business addresses, which include Salt Lake



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Orthopedic Clinic, St. Mark's Medical Office Building, 1160 E. 3900 S., Suite 5000, Salt Lake

City, Utah 84124, or Alpine Orthopedic Specialists, 2310 N. 400 E., Suite A, North Logan,

Utah, 84341 or Brigham City Clinic, 1030 Medical Drive, Brigham City, Utah 84302, or

Innovasis, 614 E. 3900 S., Salt Lake City, Utah.

       23.     Upon information and belief, Dr. Felix implants Innovasis Products in his own

Medicare and Medicaid patients and submits or causes to be submitted requests for payment or

reimbursement for these devices to government programs, including Medicare and Medicaid, by

the practice clinics and establishments where Dr. Felix treats patients. Upon information and

belief, Dr. Felix has received compensation from Innovasis positively impacted by the volume of

Innovasis Products that Dr. Felix chooses to implant in his own patients. At present, Dr. Felix

has physician privileges at the Sale Lake Orthopedic Client, the Alpine Orthopedic Specialists

Clinic, and the Brigham City Clinic.

       24.     Garth Felix is citizen and a resident of Utah and may be served with the Summons

and Complaint at his residential address which is, upon information and belief, l 088 W. Park

Meadows Dr., Mapleton, Utah 84664-4840. For many years, Garth Felix has been involved in

all aspects oflnnovasis' business operations and has had direct knowledge of and involvement in

the improper physician remuneration arrangements by Innovasis described herein.

       25.     Dr. Felix and Garth Felix have ultimate control over all aspects of the operations

oflnnovasis. Upon information and belief, Dr. Felix and Garth Felix, directly or indirectly, are

the majority owners oflnnovasis. Dr. Felix and Garth Felix are not only at the top of the

corporate hierarchy, they are the corporate hierarchy.

       26.     Upon information and belief, Dr. Felix and Garth Felix have shared interests in

the following business entities understood to relate in one form or another to Innovasis' business



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operations: Affirm Surgical Products, LLC, Balanced Holdings, LLC, Innovasis Properties,

LLC, Mill Pond, LLC, Accuro, Inc, Summit R&D, LLC, and Innovasis Neurological, Inc. Upon

information and belief, all are privately-organized limited liability companies or corporations

formed under Utah law.

                                      Jurisdiction and Venue

        27.     Pursuant to 28 U.S.C. §§ 1331 and 1345, this Court has original subject matter

jurisdiction over this matter because it is a civil qui tam action under the federal False Claims

Act, 31 U.S.C. §§ 3729 et seq., and alleges violations ofthe federal Anti-Kickback Statute, 42

U.S.C. § 1320a-7b(b), and thus involves questions of federal law. Relator is the original source

of facts and information alleged in this Complaint, and is the original source disclosing the

pattern of illegal activity by Defendants, and thus jurisdiction is not barred by 31 U.S.C. §

3730(e).

       28.      The Court has personal jurisdiction, and venue is proper, under 31 U.S.C. §

3732(a), which authorizes nationwide service of process in that an action under the Act "may be

brought in any judicial district in which the defendant or, in the case of multiple defendants, any

one defendant can be found, resides, transacts business, or in which any act proscribed by section

3729 occurred." 31 U.S.C. § 3732(a). At all times material to this action, Innovasis transacted

business in the District, and submitted or caused the submission of false claims involving its

products in the District.

        29.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a

substantial part of the events giving rise to the claims of this action occurred in this District, 28

U.S.C. § 1391 (b )(2); or, pleading alternatively, (b) because Defendants are subject to specific

personal jurisdiction in this State and District with respect to this action. Innovasis directed its



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marketing to the State of Texas and this District via the Innovasis website (www.innovasis.com)

and Defendants provided unlawful compensation to one or more physicians practicing in Dallas,

Texas pursuant to a contractual arrangement.

         Implantable Medical Devices and the Practice of Orthopedic Spinal Surgery

        30.      Physicians who perform orthopedic spinal surgery and neurosurgery function

within one of the highest-paying medical specialties in the nation (neurosurgeons perform

surgery on the brain and other parts of the nervous system, and orthopedists typically specialize

in spinal surgery). With an aging population and the attendant existence of chronic conditions

affecting the musculoskeletal system and the muscles, tendons, cartilage, joints and connective

tissue that make it up, the number of patients seeking assistance from orthopedists and

neurologists is growing.

        31.      Both neurosurgeons and orthopedic surgeons can perform spinal surgery, which

almost always involves the use of an implantable device. "A medical device is defined as

implantable if it is either partly or totally introduced, surgically or medically, into the human

body and is intended to remain there after the procedure. " 3 An implantable spine device is

intended to correct a patient's anatomy to address deformities, the effects of degenerative

disease, or other problem conditions.

        32.      Innovasis markets its implantable devices to both neurosurgeons and orthopedic

surgeons. Innovasis Products include implantable thoracolumbar, cervical, and cranial medical

devices and related biologic supplies.




          Johnson JA., FDA regulation of medical devices. Congressional research service, June 25,2012
[Internet] Washington, DC: Federation of American Scientists; c2013. [cited 2013 Jull3],
http://www.fas.org/sgp/crs/misc/R42130.pdf, cited by Joung, Yeun-Ho in "Development oflmp1antab1e Medical
Devices: From an Engineering Perspective," Int. Neurourol J., 2013 Sep; 17(3): 98-106, U.S. National Library of
Medicine, National Institutes of Health.

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        33.      Innovasis Products are manufactured by Innovasis itself, and the company boasts

of having the flexibility in its facilities to "rapidly" change its manufacturing process to respond

to the market, even though Innovasis also describes regulatory authority over such devices as

rigid: "[t]he flexible manner within the company allows Innovasis to move through the design,

engineering, product development and production phases quickly and easily. When necessary,

we can change individual aspects of a project rapidly and react to market changes almost

instantaneously."

        34.      Regulated by the federal Food and Drug Administration, Innovasis Products,

upon information and belief, are considered like most other implantable devices to be

intermediate risk (Class II) devices that can be cleared for market through a simple

administrative review "if a company assures FDA that the device is 'substantially equivalent' to

devices already available ... this process does not require clinical testing to demonstrate safety or

effectiveness of the device. As a result, many implantable devices arrive on the market without

the benefit of studies that demonstrate their safety and effectiveness." 4

        35.      Medical devices, as defined by federal law, are used for both diagnostic and

therapeutic objectives. Under federal law, reimbursable medical devices include any device

intended for "human use" and certainly include Innovasis Products. See Federal Food, Drug, and

Cosmetic Act, §20l(h), 21 U.S.C. §321(h) (2010).

                        Paying for the Cost of Implantable Medical Devices

        36.      The cost of implantable devices is significant. "Some estimates have placed the

price that hospitals must pay for implantable devices accounts at 30-80 percent of the payment


          "Understanding the Market For Implantable Medical Devices," Keith D. Lind, JD, MS, AARP Public
Policy Institute, Aug. 2017 (the "Lind Article"), at pp. 1-2. See also James Robinson and Annemarie Bridy,
"Confidentiality and Transparency for Medical Device Prices: Market Dynamics and Policy Alternatives"
(University of California, Berkeley Center for Health Technology, October 2009),
http://bcht. berkeley .edu/docs/DevicePrices-Transparency-Report. pdf.

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they receive from insurers, such as Medicare, for related procedures." 5 The cost of implantables

thus may exceed half of the reimbursement received from the health care insurer. Commentators

predicted the U.S. implantable medical devices market would grow to be worth $73.9 billion by

the present time. Of that, "the orthopedic implant market will continue to remain the largest

segment not only in terms of overall market value but growth rate as well." 6

        37.      Prices for medical devices are not transparent, including because manufacturers

like Innovasis require their buyers to sign strict confidentiality agreements preventing disclosure

of pricing information. This lack of transparency works to the benefit of the medical device

manufacturers, namely because even if over-committed physicians making the choice of the

medical device to use had the time and resources to compare prices for implantable devices, they

would lack the data to reach any conclusion.

        38.     The lack of transparency at Innovasis extends beyond its product pricing to shield

the identity of its founder and owner, Dr. Felix. Although he is a board-certified orthopedic

surgeon who demands the use of Innovasis Products for his own patients, the Innovasis website

contains no indication of Dr. Felix's involvement with the company and no endorsement by him

of the quality, usefulness, and value oflnnovasis Products. Someone reviewing the information

provided on the website would not learn that Dr. Felix has a personal financial interest in the sale

of Innovasis Products.

        39.     Medicare, Medicaid, and other federal health care programs do not pay health

care providers for implantables on a per-device basis. Rather, hospitals and other clinical



         Lind Article, at p. 2. See also James Robinson and Annemarie Bridy, "Confidentiality and Transparency
for Medical Device Prices: Market Dynamics and Policy Alternatives" (University of California, Berkeley Center
for Health Technology, October 2009), http:!/bcht.berkeley .edu/docs/DevicePrices-Transparency-Report.pdf.
6
         "U.S. Implantable Medical Devices Market Will Grow 8 Percent to $73.9 Billion by 2018," MedCity
News, January 23, 2013, http://medcitynews. com/20 13/0 l/u-s-implantable-medical-devices-marketwill-grow-8-
percent-to-73-9-billion-by-20 18/.

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settings where orthopedic procedures are performed are reimbursed according to the total cost of

the individual procedure, from start to finish. Hospitals and specialty clinics negotiate set

"bundled package" fees for specific types of procedures. In this setting, determining the cost of

the specific implantable device used in a given procedure is virtually impossible.

    Choosing Which Implantable Medical Device to Purchase is Largely Predetermined

       40.      Implantable spinal devices can only be sold to health care providers. However, it

is not the hospital or surgical center submitting the claims to government health insurance

programs that decides which device to choose among those competing in the market. Spinal

implant devices like the Innovasis Products are known as "physician preference" medical

products, meaning that they are chosen by the individual surgeon performing the orthopedic or

neurologic procedure or his/her staff. Innovasis' exclusive market thus consists of individual

physicians because even the hospitals and clinics where they have practicing privileges defer to

and accept the physicians' individual purchasing decision as to which implantable device to use.

       41.      "[D]evice manufacturers have created further hurdles to price competition

through ... brand loyalty, and financial ties, primarily to physicians who use the devices." 7

Indeed, "[h ]ospitals ... have limited bargaining power to negotiate lower prices. In addition to

lack of price transparency, they also face ... [a] fragmented hospital industry, limited device

data, and lack of control over buying decisions." !d.

       42.      Because physicians provide the patient referrals that keep hospitals and surgical

clinics operational, hospitals as the payors for implantables are understandably wary to interfere

with or reject the choice physicians make as to an implantable device.

       43.      Physicians themselves have little incentive to identify the implantable providing

the best value. "[P]hysicians rarely face liability for the cost of devices they implant under

       Lind Article, p. 4 (citations omitted).

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si1oed payment mechanisms in fee-for-service systems." 8 Instead, physicians are vulnerable to

financial manipulation by companies like Innovasis. "In 2015, medical device companies paid at

least $2.3 billion to health care providers in the United States ... " !d.

                              Defendants' Illegal Kickbacks to Physicians

        44.      Relator came to have personal awareness of the illegal marketing and business

activities by Defendants in July 20 19 after being contacted by a neurosurgeon practicing within

Relator's sales territory who claimed to be due a payment under his royalty contract with

Innovasis. Relator was told by the Innovasis Vice President of sales that the neurosurgeon would

probably stop using Innovasis product once his "deal" expires and ''the only reason he is using

Innovasis anyway is because we're paying him." Innovasis and the neurosurgeon had a royalty

agreement relating to a medical product purportedly created by the neurosurgeon but that

Innovasis did not use, develop, or sell.

        45.      When Relator inquired with Innovasis about the complaint from the

neurosurgeon, Relator was told Innovasis would resolve it and, shortly thereafter, the payment

being sought by the neurosurgeon was made by Innovasis through the directive of Dr. Fe1ix and

Garth Felix. This was even though there was no cause for any royalty payment by Innovasis

because it had not used or sold any product created by the neurosurgeon.

        46.      Relator learned that Innovasis' delay in making the contractual payment in the

first instance was a pattern for its future relationship with the neurosurgeon. Because the

surgeon had not caused the purchase of a sufficiently high enough level of Innovasis Products,

the neurosurgeon had failed to meet the condition required for remaining a contracting party with

Innovasis and his contract would be allowed to lapse.



        Lind Article, p. 5 (citations omitted).

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       47.     Relator investigated the matter to the extent information was available to him at

Innovasis and came to believe that Innovasis had put in place a number of similar illegal

payment and remuneration arrangements with surgeons such as the neurosurgeon. Some of these

were "house accounts" managed and serviced almost exclusively by Dr. Felix and Garth Felix

and had existed since at least 2014. Others were intellectual property arrangements, royalty

agreements, and consulting agreements.

       48.     The "house accounts" involved the payments of intellectual property acquisition

fees, royalty fees, and/or consulting fees to surgeons for their express or implied commitment to

buy or cause their hospital or surgical clinic to buy Innovasis Products for use with their patients

during surgery. Defendants expected to receive high percentages of product purchases relative to

the compensation being provided to "house account" surgeons. Garth Felix kept detailed

spreadsheets showing the "return on investment" to compare the amounts of sales to the financial

payments received by the surgeons. Actively encouraged to make or cause to be made large

number of purchases oflnnovasis Products, the participating surgeons were criticized if they

failed to sustain an acceptable level of purchases. For surgeons who did not order or cause the

ordering of a sufficient volume of Innovasis products, Dr. Felix and Garth Felix would describe

them as "under-performing" and a "bad investment" for Innovasis.

       49.     Upon information and belief, Innovasis has no equivalent analysis relating to any

royalty for product created by a house surgeon or tracking the development of new product under

an intellectual property contract. In fact, the Innovasis product development team would

periodically receive inquiries from surgeons who truly were trying to develop a new product but

would have to respond that the product was not being developed because Innovasis had refused

to fund the necessary effort.



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       50.     Upon information and belief, two members of the Innovasis Scientific Advisory

Board, Ohio Surgeon 1 and Texas Surgeon 1, were "house accounts."

       51.     Innovasis Scientific Advisory Board Member Texas Surgeon 1 (based in Dallas,

Texas) had a "house account" with Innovasis prior to 2013 associated with an intellectual

property contract under which he was, upon information and belief, awarded $400,000 over the

course of two years plus $500/hour for consulting and three million performance shares. In

2014, Innovasis entered into a new agreement with Texas Surgeon l, providing him $300,000 at

the inception of the contract plus $840,000 paid quarterly over two years. In 2017, Texas

Surgeon l and Innovasis entered into another contract, providing him $100,000 at the inception

of the contract plus $800,000 paid quarterly over two years plus $400,000/year in performance

stock options at Innovasis for cervical products that were never developed. The true purpose of

the payment was to incentivize Texas Surgeon l to purchase a large amount oflnnovasis

Products, which Texas Surgeon 1 did. Over time, Texas Surgeon 1 contributed $10.4 million in

sales revenue to Innovasis.

       52.     Innovasis had a similar arrangement with surgeons in Ohio (including Ohio

Surgeon 1, who sits on the Innovasis Scientific Advisory Board) through a limited liability

company called Accuro, Inc. (founded by an Innovasis employee in Nevada) and an Ohio-based

LLC called Midwest R&D, LTD. Innovasis' dealings in Ohio date as far back as 2006 and

involved the development of a cervical system. Innovasis paid the surgeons over $1,044,000 per

year without ever taking a single meaningful step to develop the system. The true purpose of the

payment was to incentivize the physicians to purchase a large amount of Innovasis Products, on

an annual basis, which they did. The $1.044 million payment resulted in sales of $3 million of




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Innovasis Products in 2018. The Ohio surgeons used over $22 million in Innovasis Products

from 2013-2018 and were paid kickbacks throughout that period.

       53.     lnnovasis has, upon information and belief, nineteen "house accounts" that

generated over $60 million in sales revenue from 2013 to 2019.

       54.     According to Innovasis, its marketing ostensibly is performed by distributors, and

Innovasis has described this as a course of business dealings between Innovasis, its distributors,

and the ultimate end-user for the distributors to sell the products to on a consignment basis.

Under the consignment sales arrangement described in lnnovasis' contracts with its distributors,

called a Distributor Representative Agreement, Innovasis would ship products to the distributor,

and the distributor would identify, market to, and sell the Innovasis products to potential

customers. The customers would then place their orders either directly with Innovasis or through

the distributor, and payment is made to Innovasis directly.

       55.     In truth, in addition to distributors, Innovasis has engaged in alternative marketing

"efforts" in the form of illegal contractual relationships with "house accounts" and physician-

owned distributorships. This marketing is done outside of an arrangement governed by any

Distributor Representative Agreement.

       56.     As to those distributors whose networks included participating surgeons,

Innovasis provided reduced commissions to the distributors because Innovasis already had its

own independent arrangements with the surgeons. Orders generated or caused by the

approximately 20 or so participating surgeons account for 60% oflnnovasis' gross revenue

related to the sales of medical devices.

       57.     Further, upon information and belief, each "house account" involves on average

40-50% Medicare reimbursement because the typical surgical patient is over 60 years of age.



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       58.     The United States, through the Centers for Medicare and Medicaid Services

("CMS"), administers the Supplementary Medical Financial Program for the Aged and

Disabled, established by Title XVIII of the Social Security Act, 42 U.S.C. § 1395 et. seq.

       59.     Medicare is a federally-funded health insurance program for those over

age 65 and, in some measure, the disabled. Medicare beneficiaries may receive benefits

under Part A, which covers up to ninety days of eligible inpatient hospital care for any single

"spell of iII ness" at qualifying hospitals and will reimburse for an implantable device.

Implantable devices are also reimbursable under Medicare Part B, insurance that helps pay for

medical services and supplies provided by physicians and suppliers to Medicare beneficiaries

not covered by Medicare Part A.

       60.     "House accounts" also involve Medicaid reimbursement. The Medicaid

Program is part of the Social Security Act, which authorized federal grants to states for

medical assistance to low-income, blind, or disabled persons, or to members of families with

dependent children or qualified pregnant women or children. Medicaid is jointly financed by

the federal and state governments.

   Government Regulation of Medical Devices: the FCA and the Anti-Kickback Statute

       61.     The FCA provides, in relevant part, that anyone who "(A) knowingly presents, or

causes to be presented, a false or fraudulent claim for payment or approval [or] (B) knowingly

makes, uses, or causes to be made or used, a false record or statement material to a false or

fraudulent claim .. .is liable to the United States Government for a civil penalty of not less than

$5,000 and not more than $10,000 ... plus 3 times the amount of damages which the Government

sustains because ofthe act ofthat person." 31 U.S.C. § 3729(a)(l). A "claim" is a "request or




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demand ... for money or property ... presented to an officer, employee, or agent of the United

States." 31 U.S.C. § 3729(b)(2).

        62.         Under the Act, a person acts knowingly if he (1) has actual knowledge of the

information; (2) acts in deliberate ignorance of the truth or falsity of the information; or (3) acts

in reckless disregard ofthe truth or falsity ofthe information. 31 U.S.C. § 3729(b)(1)(A). While

knowledge is a required element, specific intent to defraud the government is not. 31 U.S.C. §

3 729(b )(1 )(B).

        63.         The Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b), prohibits any person or

entity from offering, making, soliciting, or accepting remuneration, in cash or in kind, directly or

indirectly, to induce or reward any person for purchasing, ordering, or recommending or

arranging for the purchasing or ordering of federally-funded medical items, goods, or services:

"whoever knowingly and willfully offers or pays any remuneration (including any kickback,

bribe, or rebate) directly or indirectly, overtly or covertly, in cash or in kind to any person to

induce such person--(A) to refer an individual to a person for the furnishing or arranging for the

furnishing of any item or service for which payment may be made in whole or in part under a

Federal health care program, or (B) to purchase, lease, order, or arrange for or recommend

purchasing, leasing, or ordering any good, facility, service, or item for which payment may be

made in whole or in part under a Federal health care program, shall be guilty of a felony and

upon conviction thereof, shall be fined not more than $25,000 or imprisoned for not more than

five years, or both." 42 U.S.C. § 1320a-7b(b)(2).

        64.         While the Anti-Kickback Statute does not define "knowingly and willfully" as

used in 42 U.S.C. § 1320a-7b(b)(2), in 2010, the Statute was amended to provide that "a person

need not have actual knowledge of this section or specific intent to commit a violation of this



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section." 42 U.S.C. § 1320a-7b(h). The 2010 amendment "simply clarified that the government

is not required to show a criminal defendant specifically knew the Anti-Kickback Act prohibited

offering or paying consideration to induce referrals and intended to violate the law." United

States v. Mathur, No. 2:11--cr-00312-MMD-PAL, 2012 WL 4742833, at *15 (D. Nev. Sept. 13,

2012).

         65.   The Anti-Kickback Statute is a criminal statute, but a 2010 amendment provides

that claims resulting from a violation of the Statute automatically constitute "false or fraudulent

claims" civilly under the FCA. See 42 U.S.C. § 1320a-7b(g) ("In addition to the penalties

provided for in this section or section 1320a-7a ofthis title [providing for civil monetary

penalties], a claim that includes items or services resulting from a violation of this section

constitutes a false or fraudulent claim for purposes of subchapter III of chapter 3 7 of Title 31.").

In other words, a violation of the Anti-Kickback Statute is expressly treated as a false or

fraudulent claim for purposes of the FCA. See 42 U.S.C.A. § 1320a-7b(g).

         66.   As codified in the Patient Protection and Affordable Care Act of 2010

("PPACA"), Pub. L. No. 111-148, § 6402(f), 124 Stat. 119, codified at 42 U.S.C. § 1320a-7b(g),

"a claim that includes items or services resulting from a violation of this section constitutes a

false or fraudulent claim for purposes of [the FCA]."

         67.   According to the legislative history ofthe PPACA, this amendment to the Anti-

Kickback Statute was intended to clarify "that all claims resulting from illegal kickbacks are

considered false claims for the purpose of civil actions under the [FCA], even when the claims

are not submitted directly by the wrongdoers themselves." 155 Cong. Rec. S I 0854. Compliance

with the Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b), is a condition of payment under

Medicare and Medicaid.



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       68.     The Anti-Kickback Statute exists to curb abuses like those engaged in by

Innovasis, which has arrangements masquerading as lawful business dealings that, in reality,

involve kick-back-tainted false claims that lnnovasis submitted or caused to be submitted to

federal government health care programs for the payment of Innovasis Products the purchase of

which was induced by violations ofthe Anti-Kickback Statute.

       69.     After treating a Medicare patient and when submitting claims under Medicare or

other federal programs, the submitter make the following certification that Innovasis' illegal

conduct prevented from being true as to affected Innovasis Products:

       In submitting this claim for payment from federal funds, I certify that: 1) the
       information on this form is true, accurate and complete; 2) I have familiarized
       myself with all applicable laws, regulations, and program instructions, which are
       available from the Medicare contractor; 3) I have provided or will provide
       sufficient information required to allow the government to make an informed
       eligibility and payment decision; 4) this claim, whether submitted by me or on my
       behalf by my designated billing company, complies with all applicable Medicare
       and/or Medicaid laws, regulations, and program instructions for payment
       including but not limited to the Federal anti-kickback statute and Physician Self-
       Referral law (commonly known as Stark law); 5) the services on this form were
       medically necessary and personally furnished by me or were furnished incident to
       my professional service by my employee under my direct supervision, except as
       otherwise expressly permitted by Medicare or TRICARE; 6) for each service
       rendered incident to my professional service, the identity (legal name and NPI,
       license#, or SSN) ofthe primary individual rendering each service is reported in
       the designated section.

https://www.cms.gov/Medicare/CMS-F orms/CMS-F orms/Downloads/CMS 1500.pdf (emphasis

added). The Medicare Enrollment Application, CMS Form 855i, requires providers to certify

"that payment of a claim by Medicare is conditioned upon the claim and the underlying

transaction complying with such laws, regulations, and program instructions (including, but not

limited to, the Federal anti-kickback statute and the Stark law), and on the supplier's compliance

with all applicable conditions of participation in Medicare."




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          70.   The CMS 1500 form contains a provider certification for Medicaid claims and

provides "... I certify that the services listed above were medically indicated and necessary to

the health of this patient and were personally furnished by me or my employee under my

personal direction. NOTICE: This is to certify that the foregoing information is true, accurate

and complete. I understand that payment and satisfaction of this claim will be from Federal and

State funds, and that any false claims, statements, or documents, or concealment of a material

fact, may be prosecuted under applicable Federal or State laws."

https://www.cms.gov/Medicare/CMS-Forms/CMS-Forms/Downloads/CMS1500.pdf.

          71.   Innovasis' illegal conduct prevented the submitter from making true statements on

the form as to the affected Innovasis Products.

                 CAUSE OF ACTION-VIOLATION OF 31 U.S.C. § 3729(a)

          72.   Relator incorporates by reference the foregoing allegations as if fully set forth

herein.

          73.   In order to acquire income from payments through Medicare, Medicaid, and other

federal health care program funds, including Tricare or the Federal Employees Health Benefits

Program, Defendants knowingly and intentionally induced the purchase of Innovasis Products by

medical health providers under directions from treating surgeons, and the providers then

submitted, or caused to be submitted, claims and statements in support of claims to the federal

government that were tainted by Defendants' conduct, which violated the Anti-Kickback Statute

and thereby violated the FCA.

          74.   Defendants induced the purchase oflnnovasis Products in violation of the Anti-

Kickback Statute knowingly and with the specific intent to induce the government to reimburse

the hospitals and surgical clinics whose physicians had selected Innovasis Products. Defendants'



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involvement in paying the illegal remuneration to the physicians was material to the submission

of the false and fraudulent claims and was a direct cause of the government's decision to make

these payments. Defendants had full knowledge that physicians and the hospitals where the

physicians performed surgeries were submitting claims to Medicare and other government health

benefit programs that were false, fraudulent, and not payable because Defendants knowingly and

willfully paid remuneration, financial incentives, to the physicians to induce their selection of

Innovasis Product.

            75.   All of these misrepresentations and false certifications misled the government and

induced it into paying substantial sums. These funds would not have been paid had the truth

been known. As a result, the United States has sustained damages in an amount to be determined

at trial.

            76.   While Relator does not have documentation for all of the practices described

above, relevant information could be found in the following sources within Defendants'

exclusive possession and control at Innovasis: accounts payable and receivable records, bank

statements, internal financial statements, sales analysis records, return on investment studies on

"house accounts," profit and loss statements, investment advisory statements, disclosures to

investors/owners, contract summaries, contract-related records, information distributed by

Innovasis sales representatives to distributors and prescribers, Innovasis records relating to

compensation to sales distributors, and billing and insurance records.

            77.   Relator is ready and willing to cooperate in any investigation undertaken by the

United States.

            WHEREFORE, Relator prays for judgment against Defendants in the amount of three

times the amount of claims paid by the United States of America to Defendant Innovasis, Inc.



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pursuant to the false claims for payments to federal health care programs with which Innovasis

was involved, for a civil penalty against Defendants in the maximum allowed statutory amount,

as adjusted by the Federal Civil Penalties Inflation Adjustment Act of 1990 for each violation of

the False Claims Act, for the maximum amount otherwise allowed Relator under 31 U.S.C. §

3730(d) of the False Claims Act, for court costs, expenses, and attorneys' fees to Relator under

31 U.S.C. § 3730(d), and for such other and further relief as the Court deems just and proper.

                                   NOTICE TO UNITED STATES

           As required under the FCA, specifically 31 U.S.C. § 3730(b)(2), Relator has provided a

copy of this Complaint and written disclosure of substantially all material evidence and

information that Relator possesses to the Office of the United States Attorney for the Northern

District of Texas simultaneous with the filing ofthis Complaint under seal.

                                          Jury Trial Demand

           In accordance with Fed. R. Civ. P. 38, Relator hereby demands a jury trial on all issues so

triable.




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Date: October 11,2019                                Respectfully Submitted,




                                                     Is/ Nathan F. Garrett
                                                     Nathan F. Garrett, TX 24063519
                                                     Kathleen A. Fisher, MO 57737
                                                     Pro Hac Vice Application Pending
                                                     Jennifer Donnelli, MO 47755
                                                     Pro Hac Vice Application Pending
                                                     GRAVESGARRETTLLC
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                                                     kfisher@gravesgarrett.com
                                                      jdonnelli@gravesgarrett.com

                                                     ATTORNEYS FOR PLAINTIFF



                                CERTIFICATE OF SERVICE

       This certifies that the foregoing was served on the Office of Erin Nealy Cox, Esq., United

States Attorney for the Northern District of Texas, 1100 Commerce Street, Third Floor, Dallas,

Texas 75242-1699, and the Office of William P. Barr, Esq., Attorney General ofthe United

States, United States Department of Justice, 950 Pennsylvania Ave., N.W., Washington, D.C.

20530-0001, by placing same in the United States mail, first-class postage prepaid, on this 11th

day of October, 2019.

                                                     Nathan F. Garrett
                                                     Attorneys for Plaintiff




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'                        Case 3:19-cv-02440-X
JS 44 (Rev. 06117)- TXND (Rev. 06117)
                                                                                        Document 2
                                                                                           CIVIL COVER SHEET
                                                                                                                             Filed 10/15/19                              Page 27 of 31RECEIVED
                                                                                                                                                                                        PageID 29

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings o oth~t: papefS lii'Sli-eqiir&i b'Q llt!.€1 exc pt as
provided by local rules of court This form, approved by the Judicial Conference of the United States in September 1974, is require for tu use 'tlf'flle CI'erk'o~~ fort e                 1
purpose of initiating the civil docket sheet (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)                                                                          ~                      .

I. (a) PLAINTIFF.S                                                 .                                                                  DEFENDANTS                     . ; CLEAt< US i)<Sl RiCT COURT 1
Umted States of Amenca ex rei. Robert Richardson                                                                                    Innovas1s, Inc., Dr. Brent A. Fehx! an(I)Rl¥fE~NI~h!S~TiiCT OF TEX.U



     (b) County of Residence of First Listed Plaintiff                          Jackson County, Missouri                               County of Residence of First Listed Defendant                          _U=-cctah=-------------
                                         (f:XCEPT EN U.S PLA!lvTIFF CASES)                                                                                          (IN U.S PLAINTIFF CASES ONLY)
                                                                                                                                       NOTE:         IN LAND CO::-.:DEMNAT!O)I CASES, USE THE LOCATION OF
                                                                                                                                                     THE TRACT OF LAKD l)IVOLVED

  (C) Attorneys (F1rm Name, Address, and Telephone Number)                                                                              Attorneys (If Known)
Nathan F. Garrett, Kathleen A. Fisher, and Jennifer Donnelli
Graves Garrett, LLC 1100 Main Street, Suite 2700, Kansas City, MO 64105
                                                                                                                                                                              --19CW-
II. BASIS OF JURISDICTION (Place an "X"mOneBoxOnly)                                                                  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" m One Box for Plaintiff
                                                                                                                                (For Diversity Cases Only)                                                    and One Box for Defendant)
0 I      U.S. Government                        ~ 3      Federal Question                                                                                 PTF                DEF                                             PTF       DEF
            Plaintiff                                      (US Government Not a Party)                                     Citizen of This State          0 I                0   I       Incorporated or Principal Place       0 4     0 4
                                                                                                                                                                                           of Business In This State

0 2      U.S. Government                        0 4      Diversity                                                         Citizen of Another State                ~2         ~     2    Incorporated and Principal Place                0 5
            Defendant                                      (!nd1cate Cillzenship of Par/les m Item Ill)                                                                                     of Business In Another State

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IV. NATURE OF SUIT (Place an "X" mOneBoxOnly)                                                                                                                                  Click here for: Nature of Suit Code Descriotions.
              CONTRACT                                                         TORTS                                           FORFEITURE!PENALTY                                 BANKRUPTCY                             OTHER STATUTES
0   110 Insurance                     PERSONAL INJURY                                       PERSO:\'AL INJURY                   0 625 Drug Related Seizure             •0 422 Appeal28 USC !58                               ~375 False Claims Act
0   120 Marine                     0 310 Airplane                                       0 365 Personal Injury -                         of Property 21 USC 88!         0 423 Withdrawal                                      0 376 Qui Tam(3I USC
0   130 Miller Act                 0 315 Airplane Product                                         Product Liability             0 690 Other                                          28 USC 157                                    3729(a))
0   140 Negotiable Instrument             Liability                                     0 367 Health Care/                                                                                                                   0 400 State Reapportionment
0   150 Recovery of Overpayment 0 320 Assault, Libel &                                           Pharmaceutical                                                      t---;;l',:;;rJK(.lJ~l'IE;;R:vT'Ml·'ru
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         & Enforcement of Judgment        Slander                                                Personal Injury                                                       0 820 Copyrights                                      0 430 Banks and Banking
 0  151 Medicare Act               0 330 Federal Employers'                                      Product Liability                                                     0 830 Patent                                          0 450 Commerce
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         Studcnt Loans             0 340 Marine                                                   Injury Product                                                                    1\ew Drug Application                    0 470 Racketeer Influenced and
         (Excludes Veterans)       0 345 Marine Product                                           Liability                                                            0 840 Trademark                                             Corrupt Organizations
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 0  160 Stockholders' Suits        0 355 Motor Vehicle                                  0 371 Truth in Lending                          Act                            0 862 Black Lung (923)                                0 850 Securities/Commodities/
 0  I 90 Other Contract                  Product Liability                              0 380 Other Personal                    0 720 Labor!Management                 0 863 D!WC/DIWW (405(g))                                    Exchange
 0  195 Contract Product Liability 0 360 Other Personal                                          Property Damage                        Relations                      0 864 SSID Title XVI                                  0 890 Other Statutory Actions
 0  196 Franchise                        Injury                                         0 385 Property Damage                   0 740 Railway Labor Act                0 865 RSI (405(g))                                    0 891 Agricultural Acts
                                   0 362 Personal injury-                                        Product Liability              0 751 Family and Medical                                                                     0 893 Environmental Matters
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 0 210 Land Condemnation                        0 440 Other Civil Rights                    Habeas Corpus:                      0 791 Employee Retirement              0 870 Taxes (U.S. Plaintiff                           0 896 Arbitration
 0 220 Foreclosure                              0 441 Voting                            0 463 Alien Detainee                           Income Security Act                           or Defendant)                           0 899 Administrative Procedure
 0 230 Rent Lease & Ejectment                   0 442 Employment                        0 510 Motions to Vacate                                                        :::J 871 IRS-Third Party                                    Act/Review or Appeal of
 0 240 Torts to Land                            0 443 Housing/                                   Sentence                                                                            26 USC 7609                                   Agency Decision
 0 245 Tort Product Liability                            Accommodations                 0 530 General                                                                                                                        0 950 Constitutionality of
 0 290 All Other Real Property                  0 445 Amer. w/Disabilities- 0 535 Death Penalty                                         IMMIGRATION                                                                                State Statutes
                                                         Employment                         Other:                              0 462 Naturalization Application
                                                0 446 Amcr. w/Disabilities - 0 540 Mandamus & Other                             CJ 465 Other Immigration
                                                         Other                          0 550 Civil Rights                             Actions
                                                0 448 Education                         0 555 Prison Condition
                                                                                        0 560 Civil Detainee -
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                                                                                                 Confinement

V. ORIGIN (Piacean"X"mOneRoxOnly)
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      Proceeding                     State Court                                   Appellate Court                     Reopened                        Another District                      Litigation-                             Litigation-
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                                                    Cite the U.S. Civil Statute under which you are filing (Do notcitejuri.sdictional statutes unless diversity):
VI. CAUSE OF ACTION I-'3'""1_,U'"".S""'.""C'-'~l...:3'-'7.::.29"-'--"'e,_,t
                                              .                           s"'-e::l.:q. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                    Brief description of cause:
                                                    Com_IJ}aint for Damages under the False Claims Act and the Stark Law
VII. REQUESTED IN                                   0 CHECK IF THIS IS A CLASS ACTION            DEMANDS                                                                             CHECK YES only if demanded in complaint:
     COMPLAINT:                                         UNDER RULE 23, F.R.Cv.P.                                                                                                     JURY DEMAND:                       )5i( Yes         ONo
VIII. RELATED CASE(S)
                                                        (See instructwm):
      IF ANY                                                                                                                                                               DOCKET NUMBER
DATE
10/11/2019
 FOR OFFICE USE ONLY                                                                       IJ                                              \
    RECEIPT#                             ~\10UNT                                                APPLYING lFP                                            JUDGE                                     MAG. JUDGE
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                 Case 3:19-cv-02440-X
JS 44 Reverse (Rev. 06/17)- TXND (Rev. 06/17)
                                                        Document 2              Filed 10/15/19               Page 28 of 31              PageID 30

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

l.(a)   Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency,
        use only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identifY first the agency and
        then the official, giving both name and title.
  (b)   County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at
        the time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
        condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)   Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment,
        noting in this section "(see attachment)".

IL      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an
        "X" in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
        United States plaintiff. (I) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
        United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
        Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
        to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
        precedence, and box I or 2 should be marked.
        Diversity of citizenship. (4) This refers to suits under 28 U .S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
        citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
        cases.)

Ill.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark
        this section for each principal party.

IV.     Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit
        code that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.      Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (I) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        When the petition for removal is granted, check this box.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation- Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Section 1407.
        Multidistrict Litigation- Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
        PLEASE NOTE THAT THERE IS NOT Al'O ORIGI!'O CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
        changes in statue.

VI.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite
        jurisdictional statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII.   Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If a related case exists, whether pending or closed,
        insert the docket numbers and the corresponding judge names for such cases. A case is related to this filing ifthe case: I) involves some or all ofthe
        same parties and is based on the same or similar claim; 2) involves the same property, transaction, or event; 3) involves substantially similar issues of
        law and fact; and/or 4) involves the same estate in a bankruptcy appeal.

Date and Attorney Signature. Date and sign the civil cover sheet.
           Case 3:19-cv-02440-X              Document 2          Filed 10/15/19            Page 29 of 31            PageID 31




Graves Garrett LLc


  Rebekah Badell
  rbadell@gravesgarrett.com
  Direct Dial: (816) 285-3047
  Facsimile: (816) 256-5958

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  Dallas, TX 75242
  Phone: (214) 753-2200

           Re:       Filing of Qui Tam Complaint Under Seal

  Dear Clerk of the Court:

           Enclosed please find the following documents to be filed under seal pursuant to the False Claims
  Act:
                 •   an original complaint, and a copy of the same;
                 •   a civil cover sheet;
                 •   a check made payable to the US District Court;
                 •   a certificate of interested persons; and
                 •   a Relator's Confidential Evidentiary Disclosure in Support of the Qui Tam Complaint with
                     accompany exhibits.

           Please feel free to contact me if anything additional is needed.



                                                                  Sincerely,




                                                                  Rebekah Badell
                                                                  Paralegal


   Encl.

                     1100 Main Street. Suite 2700 Kansas City. MO 64105 ph 816.256.3181   www.gravesgarrett.com
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